                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             DOCKET NO. 3:06-cr-96-W
                                                   )
                                                   )
 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )                    ORDER
        vs.                                        )
                                                   )
                                                   )
 (5) JUDERITA RUSSELL                              )
                                                   )
                                                   )

       THIS MATTER is before the Court on the United States’ Motion to Abate Proceedings and

Dismiss the Indictment as to Defendant Juderita Russell because of the death of Defendant Juderita

Russell on or about January 27, 2009. (Doc. No. 221) It is hereby ORDERED that all proceedings

against Defendant Russell are hereby abated, and the United States’ Motion to Dismiss the Third

Superseding Indictment against Defendant Russell only is hereby GRANTED.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, the U.S.

Marshal Service, Reita P. Pendry, Esquire, and the United States Attorney’s Office.

       IT IS SO ORDERED.

                                                 Signed: October 19, 2009




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